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                        IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH, CENTRAL DIVISION


UNITED STATES OF AMERICA, ex rel.                         MOTION TO STAY
GERALD POLUKOFF, M.D.,                                  PROCEEDINGS PENDING
                                                        CERTIORARI PETITION
        Plaintiff/Relator,

vs.

ST. MARK’S HOSPITAL,                                   Case No. 2:16-cv-00304-TS
INTERMOUNTAIN HEALTHCARE, INC.
INTERMOUNTAIN MEDICAL CENTER                                Judge Ted Stewart
SHERMAN SORENSEN, M.D.,
SORENSON CARDIOVASCULAR GROUP,
and HCA, Inc. aka HCA

        Defendants.



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         Defendants Intermountain Healthcare, Inc. and Intermountain Medical Center

(collectively, “Intermountain”) hereby move to temporarily stay all proceedings in this Court

pending resolution of Intermountain’s petition for a writ of certiorari that it intends to file in the

Supreme Court on or before January 14, 2019. Intermountain’s certiorari petition is due January

28, 2019, but Intermountain represents that it will file its certiorari petition on an expedited basis

by January 14, 2019, without using the full time allowed under the rules or seeking an extension

of up to 60 days as permitted by Supreme Court rules.1

                       PROCEDURAL AND FACTUAL BACKGROUND

         In 2012, Relator Gerald Polukoff (“the Relator”) brought this False Claims Act (“FCA”)2

action under seal against Defendants St. Mark’s Hospital (“St. Mark’s”); St. Mark’s corporate

parent, HCA, Inc. (“HCA”); Intermountain Healthcare, Inc. and Intermountain Medical Center

(collectively, “Intermountain); and Dr. Sherman Sorensen and Sorensen Cardiovascular Group

(collectively, “Dr. Sorensen”) in the Middle District of Tennessee.

         In 2015, after the government declined to intervene, the district court unsealed the

complaint. Defendants then moved to dismiss, prompting the Relator to file an Amended

Complaint. The Relator’s Amended Complaint alleges that Defendants violated the FCA by

billing the government in connection with medically unnecessary procedures performed by Dr.

Sorensen at two Utah hospitals, Intermountain and St. Mark’s.




1
    See S. Ct. Rule 13.5.
2
    31 U.S.C. § 3729 et seq.
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        After Defendants moved again to dismiss, the Tennessee district court granted HCA’s

motion to dismiss and transferred the case to this Court without ruling on the remaining motions.

In this Court, the remaining Defendants renewed their motions to dismiss.

        On January 19, 2017, this Court dismissed the Relator’s Amended Complaint, holding—

as to all Defendants—that a physician’s medical opinion regarding medical necessity cannot be

objectively false under the FCA in the absence of a binding government standard, see Doc. 205

at 15–21, and—as to Intermountain alone—that Relator failed to satisfy Federal Rule of Civil

Procedure 9(b)’s requirement to plead fraud with particularity, see id. at 12–13.

        On appeal, the Tenth Circuit reversed and remanded for further proceedings. 895 F.3d

730 (10th Cir. 2018). The Court reasoned that it is possible for a medical opinion concerning

medical necessity to be false or fraudulent, id. at 742–43, and that the Relator was excused from

compliance with Rule 9(b) because the relevant information was within Intermountain’s

exclusive control, id. at 745. The Tenth Circuit thereafter denied Intermountain’s petition for

rehearing en banc and motion to stay the mandate pending resolution of a petition for certiorari.

        Intermountain will petition the Supreme Court to decide whether a relator may be

excused from pleading fraud with particularity under Rule 9(b) if the relator alleges information

is exclusively possessed by a defendant. Intermountain also intends to petition the Supreme

Court to decide the following additional question that could terminate the litigation in favor of all

Defendants: whether a physician’s medical judgment of medical necessity can be objectively

false for FCA purposes in the absence of a binding government standard.3



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  Intermountain reserves the right to revise the formulation of these questions and to raise
additional questions in its petition for a writ of certiorari.
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        Intermountain’s counsel has conferred with counsel for Defendants St. Mark’s and Dr.

Sorensen regarding this filing. They do not oppose the relief sought by Intermountain in this

motion and agree that a stay of proceedings pending a ruling by the United States Supreme Court

on any forthcoming petitions for certiorari would be appropriate.

                                         ARGUMENT

        This Court “has inherent power to grant a stay pending the result of other proceedings.”

Utah v. Envtl. Restoration, LLC, No. 2:17-CV-866 TS, 2018 WL 317838, at *1 (D. Utah Jan. 5,

2018) (Stewart, J.) (citation omitted). “[T]his power” is “incidental to the power inherent in

every court to control the disposition of the causes on its docket with economy of time and effort

for itself, for counsel, and for litigants.” Id. (quoting Landis v. N. Am. Co., 299 U.S. 248, 254

(1936)). The Court considers “(1) whether a stay would promote judicial economy (2) whether a

stay would avoid confusion and inconsistent results and (3) whether a stay would unduly

prejudice the parties or create undue hardship.” Id. (quoting Christensen v. Target Corp., No.

2:13-cv-1136, 2014 WL 1224966, at *1 (D. Utah Mar. 24, 2014)). “‘In exercising its judgment,

the Court must weigh competing interests and consider the effects of the stay on the Court’s

docket, on counsel, and on the litigants.’” Surefoot L.C. v. Sure Foot Corp., No. 2:07-CV-67 TS,

2007 WL 1412931, at *4 (D. Utah May 10, 2007) (Stewart, J.) (quoting Crown Cent. Petroleum

Corp. v. Dept. of Energy, 102 F.R.D. 95, 98 (D. Md. 1984)).

        Here, judicial economy favors staying the proceedings for a few months until the

Supreme Court decides whether to grant Intermountain’s forthcoming petition for certiorari.

Because there is a realistic possibility that the Supreme Court will grant review and vacate the



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Tenth Circuit’s decision,4 there is a risk that “tremendous inefficiencies would result” from going

forward with the proceedings. See id. at *4 (staying proceedings pending related appeal). Staying

this matter for a few months to allow the certiorari process to play itself out would avoid

confusion and inconsistent results, such as allowing the Relator to burden Intermountain with

discovery that should not take place if the Supreme Court ultimately sustains Intermountain’s

Rule 9(b) argument. See Caprin v. Simon Transp. Servs., 112 F. Supp. 2d 1251, 1255 (D. Utah

2000) (“The purpose of Rule 9(b) is to prevent the filing of a complaint as a pretext for the

discovery of unknown wrongs.” (internal quotation marks omitted)); see also United States ex

rel. Grubbs v. Kanneganti, 565 F.3d 180, 185 (5th Cir. 2009) (“In cases of fraud, Rule 9(b) has

long played that screening function, standing as a gatekeeper to discovery, a tool to weed out

meritless fraud claims sooner than later.”).

        Relator’s interest is particularly weak in a case such as this where Relator initiated the

suit six years ago, the litigation is still in its early stages, and the stay would only delay the

proceedings a few months if the Supreme Court declines to review the case. See Envtl.




4
  For example, there is a deep division between the circuits regarding whether the plain text of
Rule 9(b) must be applied or whether the standard may be relaxed or excused when information
is exclusively possessed by a defendant. Compare United States ex rel. Polukoff v. St. Mark’s
Hosp., 895 F.3d 730, 745 (10th Cir. 2018) (excusing Relator from complying with Rule 9(b));
United States ex rel. Karvelas v. Melrose-Wakefield Hosp., 360 F.3d 220, 229 (1st Cir. 2004)
(similar); United States ex rel. Rafizadeh v. Cont’l Common, Inc., 553 F.3d 869, 873 n.6 (5th Cir.
2008) (similar); United States ex rel. Presser v. Acacia Mental Health Clinic, LLC, 836 F.3d
770, 778 (7th Cir. 2016) (similar); Ebeid ex rel. United States v. Lungwitz, 616 F.3d 993, 999
(9th Cir. 2010) (similar); with U.S. ex rel. Joshi v. St. Luke’s Hosp., Inc., 441 F.3d 552, 559 (8th
Cir. 2006) (refusing to relax the pleading standard for Rule 9(b) when information is “uniquely
within the defendants’ control”); United States ex rel. Clausen v. Lab. Corp. of Am., 290 F.3d
1301, 1314 n.25 (11th Cir. 2002) (same)
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Restoration, 2018 WL 317838, at *2 (staying proceedings pending resolution of motion to

transfer in part because the litigation was “still in its early stages”).

        Intermountain’s interest, by contrast, is especially weighty because Intermountain may

lose its Rule 9(b) right to be free of burdensome discovery if the proceedings continue. Cf.

Riederer v. United Healthcare Servs., Inc., No. 15-C-1292, 2016 WL 8201782, at *2 (E.D. Wis.

Sept. 13, 2016) (staying discovery on claims arguably subject to arbitration pending the

resolution of a petition for a writ of certiorari in a similar action raising circuit split; “The reason

is clear. If the party seeking arbitration in the district court loses but then wins on appeal, many

of the benefits of its arbitration clause are irreparably lost because it has had to litigate in the trial

court, incurring expense and delay along the way.”). In order to avoid subjecting Intermountain

to serious unfairness and to promote judicial economy, the Court should temporarily stay the

proceedings until the Supreme Court acts on Intermountain’s certiorari petition, and

automatically extend the stay if certiorari is granted. See Thompson v. United States, No.

2:16CV717DAK, 2016 WL 6407418, at *3 (D. Utah Oct. 28, 2016) (holding that stay granted

due to considerations of judicial economy and the need to “proceed[] with caution” where the

Supreme Court may dispose of a “significant issue”); see also Christensen, 2014 WL 1224966,

at *2 (“Because this litigation is still in its early stages . . . , the court finds that plaintiffs will not

be prejudiced by staying the action at this time. On the other hand, in the absence of a stay,

Target would suffer undue hardship by having to repeat its litigation efforts in more than one

forum and being subject to duplicative discovery.” (footnote omitted)).




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                                        CONCLUSION

        For the foregoing reasons, Intermountain respectfully requests that this Court temporarily

stay proceedings in this Court pending Intermountain’s expedited filing of a petition for a writ of

certiorari in the Supreme Court, with the stay set to automatically terminate if Intermountain

does not file its petition on or before January 14, 2019. If Intermountain files its certiorari

petition by that date, the stay should automatically continue until the conclusion of proceedings

in the Supreme Court.

        DATED this 15th day of November, 2018.

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                                       & BEDNAR PLLC

                                        /s/ Jack T. Nelson
                                      ______________________________________
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                               CERTIFICATE OF SERVICE

        The undersigned certifies that all counsel of record who are deemed to have consented to
electronic service are being served with a copy of the foregoing MOTION TO STAY
PROCEEDINGS PENDING CERTIORARI PETITION via the Court’s CM/ECF system on
this 15th day of November, 2018.

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